            Case 4:11-cv-00340-SWW Document 1 Filed 04/19/11 Page 1 of 47    FILED
                                                                        EAST~~~.p~flmrJt)~~tsAS
                                                                             APR 1 9 2011
                       IN THE UNITED STATES DISTRICT COU~~ES W,.McGORMACK, CLERK
                          EASTERN DISTRICT OF ARKANSAS ·13y.__~~:.;::::::.-.._=~~
                                                                                            OEPCLERK


WILLIAM GUMBY,                             §
                                           §
       Plaintiff,                          §
                                           §
                                           §
vs.                                        §             No. ' ..t\\ l."
                                                                      '340       ~
                                           §             Jury Demanded
                                           §

                                           ~                                J~~
UPS GROUND FREIGHT, INC.
And ALLEN HOWARD,                               T1W _lIISigned to Oi8Iriet            :
                                           §    and to Magistrate Judge,_ _~--J..\
                                                                               ~.~~--,
       Defendant.                          §



                        NOTICE OF REMOVAL OF CIVIL ACTION



       TO:      Peter A. Miller, Esquire
                The Law Offices of Peter A. Miller
                1601 Broadway
                Little Rock, AR 72206

       Pursuant to 28 U.S.C. Section 1446(d), the Defendant, UPS Ground Freight,

Inc., by and through its counsel of record, Glassman, Edwards, Wyatt, Tuttle & Cox,

P.C., files this Notice of Removal of the above civil action, and as basis for said

Removal would show as follows:



       1.       Removing party, UPS Ground Freight, Inc., is named as a Defendant in

the above entitled action.

       2.       This matter was originally filed in the Second Division of the Circuit Court

of Lonoke County, Arkansas, on the 18th day of March, 2011, under Docket No. CV­
               Case 4:11-cv-00340-SWW Document 1 Filed 04/19/11 Page 2 of 47



2011-188. A copy of the original Complaint filed in the Circuit Court of Lonoke County,

Arkansas, along with the Summons is attached to this Notice of Removal as Exhibit A.

          3.       On or about March 23, 3011, the Defendant, UPS Freight, Inc. received

the Summons and a copy of the Complaint from the Office of the State of Arkansas,

through its Registered Agent, Corporation Service Company, 300 Spring Building, Suite

900, 300 S. Spring Street, Little Rock, AR 72201, via Certified Mail.

      4.           Based on a review of the file by the undersigned counsel for removing

Defendant, UPS Ground Freight, Inc., the Complaint, Summons and Interrogatories and

Request For Production of Documents are the only pleadings filed in the cause to date.

      5.           To this Defendant's knowledge, Allen Howard has not been served in this

matter.        In the event he is served, the undersigned will enter an appearance on his

behalf, and the undersigned will be defending Mr. Howard.

      6.           Since the date of service, no further proceedings have taken place in the

Lonoke County, Arkansas Circuit Court action.

      7.           The amount in controversy, exclusive of interest and costs, was not

specified in Plaintiff's Complaint. However, based upon the injuries complained of by

Plaintiff, through counsel, which include a lengthy hospital and rehabilitation stay and

medicals in excess of $300,000.00, the amount in controversy exceeds $75,000.00.

      Furthermore, counsel for Plaintiff agrees and acknowledges that the amount in

controversy exceeds $75,000.00. (See correspondence attached hereto as Exhibit B)

      8.           Plaintiff is presently, and was at the time the Complaint was filed, a

resident citizen of Lonoke County, Arkansas.




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            Case 4:11-cv-00340-SWW Document 1 Filed 04/19/11 Page 3 of 47



       9.       The Defendant, UPS Ground Freight, Inc., is presently, and was at the

time the Complaint was filed, a corporation organized and incorporated under the laws

of the State of Virginia, with its principal place of business being:


                       55 Glenlake Parkway, NE
                       Atlanta, GA 30328

       10.      Defendant, Allen Howard, is presently, and was at the time the Complaint

was filed, a resident citizen of Memphis, Shelby County, Tennessee.

       11.      This action is a civil action for personal injury, as a result of a motor

vehicle accident occurring in Lonoke County, Arkansas, on February 4, 2011.

       12.      This Court has original jurisdiction of this action pursuant to 28 U.S.C.

Section 1332(a) (1) and (c) as the suit is between citizens of different states, and as the

amount in controversy exceeds the sum of $75,000.00 exclusive of interests and costs.

       13.      This Notice of Removal is being filed with this Court within thirty (30) days

of service on the removing Defendant, UPS Ground Freight, Inc.

       14.      Because complete diversity existed between Plaintiff and Defendant at the

time Plaintiff commenced this action in state court and exists as of the time of the filing

of this Notice of Removal and the matter in controversy exceeds the sum of $75,000.00,

exclusive of interest and costs, this Court has original jurisdiction over this action as

defined in 28 U.S.C. § 1332(a)(1).



       WHEREFORE, UPS requests that the above-styled action be removed from the

Second Division of the Circuit Court of Lonoke County, Arkansas to the United States

District Court for the Eastern District of Arkansas, the district court embracing Lonoke

County.


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        Case 4:11-cv-00340-SWW Document 1 Filed 04/19/11 Page 4 of 47




                                    Respectfully Submitted,

                                    GLASSMAN, EDWARDS, WYATT, TUTTLE & COX, P.C.


                                    BY:           lsI Robert A. Cox, Esquire
                                           Robert A. Cox, Esquire (TN BPR# 14279)
                                           Attorney For Defendants
                                           26 N. Second Street
                                           Memphis, TN 38103
                                           (901) 527-4673 - Telephone
                                           (901) 527-5320 - Facsimile
                                           rcox@gewwlaw.com
                                           (Our File #11-041R)
                                           Counsel for Defendant, UPS Ground Freight, Inc.



                               CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing Notice of Removal has been filed with

the Clerk of the Court and has been served:

             (Via E-Mail Only: pmiller@aristotle.netJ
             Mr. Peter Miller, Esquire
             The Law Offices of Peter Miller
             1601 Broadway
             Little Rock, AR 72206



       This the 18th day of April, 2011.




                                                lsI Robert A. Cox, Esquire
                                           Robert A. Cox, Esquire




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                       Case 4:11-cv-00340-SWW Document 1 Filed 04/19/11 Page 5 of 47
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                             IN THE CIRCUIT COURT OF LONOKE COUNTY, ARKANSAS
                                                SECOND DIVISION                            2011 APR 15 AM f r: 30
                                                                                              -
                                                                                           lOflOK
              WILLIAM GUMBY,                           §                                        OEMfS'l'-Bfi{jy{ti\
                       Plaintiff,
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                                                       I
                                                       I

               VI.
                                                       ,
                                                       §
                                                       §

                                                       §
                                                                        No. ~V..2011.1U
                                                                        Jury Demanded

               UPS GROUND FREIGHT, INC.                §
               And ALLEN HOWARD,                       §
                                                       §
                       Defendant.                      §


                                    NOTICE OF filiNG NOTICE OF REMOVAL



                       COMES NOW the Defenda~ UPS Ground Freight, Inc., by and through

               counsel of record, Glassman, EdwardS, Wyatt, Tuttle & Cox. P.C., and files the

               attached Notice of Removal of the above pending action to the United States District

               Court fOr the Eastern Division of Arkansas.



                                                 Respectfully Submitted,



                                                 BY:
                                                           Tim Edwards. Esquire (ARK BPR#2010111)
                                                           Robert A. Cox, Esquire (TN BPR. 14279)
                                                           Attorney For Defendants
                                                           26 N. second Street
                                                           Memphis, TN 38103
                                                           (901) 527-4673 - Telephone
                                                           (901) 527-5320 - Facsimile
                                                           c£9x41l,qeqt!w.com
                                                           (Our Fill t'f-tU1Rj
                                                           Coun", for DefentM"t UPS Ground F,.ight, Inc.
"           Case 4:11-cv-00340-SWW Document 1 Filed 04/19/11 Page 6 of 47


                                       CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing Notice of Removal has been filed with

    the Clerk of the Court, using the CM/ECF system, and has been served:

                 (Via E-Mail Only: pmiller@aristotle.netJ
                 Mr. Peter Miller, Esquire
                 The Law Offices of Peter Miller
                 1601 Broadway
                 Little Rock, AR 72206


                               <'
                           7
           This the   1S-           day of April, 2011.




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                      Case 4:11-cv-00340-SWW Document 1 Filed 04/19/11 Page 7 of 47




                                                            IN THE CIRCUIT COURT OF LONOKE COUNTY, ARKANSAS
                                                                       THIRD DIVISION
                                                                          SUMMONS

PLAINTIFF:                        WILLIAM GUMBY
(Ifnol represenled hy nn 1I11orne)', give
nddress)                                                                                                          _

Vs. No.: CV-20Il-188

DEFENDANT: UPS GROUND FREIGHT INC. C/O CORPORATION SERVICE COMPANY

PLAINTIFFS attorney: PETER MILLER 1601 SO BROADWAY S1' LITTLE ROCK, AR 72206




THE STATE OF ARKANSAS TO DEFENDANT: UPS GROUND FREIGHT INC
                                    C/O CORPORATION SERVICE COMPANY
                                    300 SPRING BLDG SUITE 900
                                    LITTLE ROCK AR 72201
                                   NOTICE

I. You are hereby nOlified Ihnlalaw5ull hM heen filed agaiml you; lhe rellefnsl(ed llllhe attRched complaint.

2. The attllched complllint will hc considered admitted by you lind a judgmellt by dcfRul1 may be entered nga!nst you for the relief
nsl.ed inlhc complnint unless you file II plending and Ihereafter appear and prL'Sent )'ollr defense. Your pleading or answer musl meet
the following requirements:

                 A.     II must be In writing. and otherwise comply with Ihe Arkousas Rules of Civil Procedure.

                 B,    II mllsl be filed in the courl cieri. office within 30 (TmRTY) days from the day thnt you were served wilh the summons.

3. If )'OU desire 10 be represented b)' nn attorney )'OU should immedinlel)' contact your attorney so lbal an nnswer can be filed for you
w!lhin the linle nllowed.

                 Additionnl Nntlces:

                 WITNI~SS          my band nnd senl oflile court this MARC" 18.2011

County Courthouse
P.O. Box 219
Lono ke, AR 72086-0219                                                                      DENISE BROWN, Clerk

(SEAL)

Received fur s\-'!'Vicc this_ _ooy of.                              • 20_, ol,_ _---'M,

::-                                                  ShL-nIT:
By:,c-::c:=-::--=-:-=-:--,-:-::-.,--,,---,=-=-:-,­
STATE OF ARKANSAS, COUNTY OF LONOKE:
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IhereofCfor slnting Ihe subslance Ihereo!), together witb a copy of the eompalut, 10                          , such penon being:

C"ECK WHERE APPLICABLE:
_ _ _The person nllmed Ihereln liS defendllnt.
_ _ _A member oflhe defenduut's family, above Ihe IIge of 14 years of age allhe dcfendnnl's usual place of
nhode, nnmely--,----,---,---_--,--     -,-----,__,
_ _ _The duly designaled ngent for sen'lce ofproecss for tile dcfendnllt, namel)'                          ,
_ _ _OTHER:
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                                                                                                                               By:                   _
               Case 4:11-cv-00340-SWW Document 1 Filed 04/19/11 Page 8 of 47




                                         IN THE CIRCUIT COURT OF LONOKE COUNTY, ARKANSAS
                                                    THIRD DIVISION
                                                       SUMMONS

PLAINTIFF:              Wll.LlAM GUMBY
(If not represented hy nn ntlorney, give
nddrcss)'----                                                                                                         _

Vs. No.: CV-2011-188

DEFENDANT: ALLEN .HOWARD

PLArNTlFFS attorney: PETER MILLER 1601 SO BROADWAY ST UTILE ROCK. AR 72206




THE STATE OF ARKANSAS TO DEFENDANT: ALLEN HOWARD 2531 DERBYSHIRE AVE
                                    MEMPHIS, TN 38127


                                                                  NOTICE

J.    You nrc hereby notified thnt n Inwsuit hns been filed ngalnst YOu; the relier asked ill the aUnelied complaiat.

2. Tbe nUnehed eomplnint will he considered ndmit1ed by you nnd n judgment by ddnull ma)' be elitered agnitlst you for the relief
IIsked in the eomplnint unless you filc a pleawng nnd thereafter nppear nnd present your dercllse. YOllr plendlng or answer must meet
llie following requirements:

            A. It nlllst be In wrlllng, nnd otherwise comply with the Arkansas Rules of Civil Procedure.

            D. It Rlllsi be filed in the court clerk office within 30 (TlHltT\1 days frolll the duy thnt   )'OU   were served with the summons.

3. H you desire to he represented b)' nn ntlorney you should immediately contnct )'our allorney so thnt nn nnswer can he filed for )'ou
within the time nllowed.

            Additlonnl Notices:

            wnNESS my hand und seal oralie court this MARCil 18,201 I

Coullty Courthouse
P.O. DOli: 219
Lonoke, AR 72086-0219                                                                    DENISE BROWN, Clerk

(SEAL)                                                                                   BY:Qy~
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Received for service lhis_ _dny of,                      , 20_. lll_ _---'M.

_ _ _ _ _ _ _ _ _ _Sheriff:
By:                           _
STATE OF AHKANSAS. COUNTY OF LONOKE:
On this          dny of                     ,201_nt            o'c1ock_M., Ilinve duly served Ihe wilhin summons by delivering n copy
therc~or (ror stnting the substnnce IhereolJ, logether with n copy ofthe compnint, to                          ,such person heing:

CIH~CK WIIERE APPUCAIU.,E:
_ _ _Tbe person named therein ns defendnnt.
_ _ _A member of the derendnnl's family, abnve the nge of14 )'cnrs or age nt the defendnnt's usunl plllce of
nhode, nnmely-:--:--;-_-:-_ _-=-_--:-_-::-_
_ _ _The duly designated ngent for service of process for the defendant, naRlely                             ,
_ _ _OTIIER:
                                                                                                           _ _ _ _ _ _ _ _ _ _ _ _ SIlEI~J
                                                                                                                 By:.                 _
         Case 4:11-cv-00340-SWW Document 1 Filed 04/19/11 Page 9 of 47




WILLIAM GUMBY

vs.

UPS GROUND FREIGHT, INC.,                                             DEFENDANTS
and ALLEN HOWARD

                                           COMPLAINT

        COMES NOW the Plaintiff, William Gurnby, by and through his undersigned attorneys,

THE LAW OFFICES OF PETER A. MILLER, and for his complaint against UPS Ground

Freight, Inc., and Allen Howard does allege, aver, and state:

                                    JURISDICTION and VENUE

        1. Plaintiff William Gumby (Plaintiff) is a resident of Lonoke County, Arkansas, and was

so at all times mentioned herein.

       2. Defendant UPS Ground Freight, Inc. (UPS) is a Virginia Corporation. Service may be

had by serving its registered agent, Corporation Service Company, 300 Spring Building, Ste. 900,

300 S. Spring St., Little Rock, AR 72201. At all times relevant herein, UPS operated as a

commercial motor carrier in the state of Arkansas.

       3. Defendant Allen Howard (Howard) is an individual residing at 2531 Derbyshire Ave.,

Memphis, TN 38127. At all times relevant herein, Howard was an employee of UPS, operating

UPS's freight truck.

       4. The events giving rise to this cause of action occurred at mile marker 170.5 on

interstate 1-40 in Lonoke County, Arkansas. This Court has jurisdiction of the parties and the

subject matter herein, and this is the proper venue for this cause of action.


                                             Page 1 of 3
        Case 4:11-cv-00340-SWW Document 1 Filed 04/19/11 Page 10 of 47




                                               FACTS

        5. On February 4, 2011, at approximately 12:47 a.m., Plaintiff was traveling westbound

on interstate 1-40, near Lonoke, Lonoke County, Arkansas, in a vehicle specifically described as a

201] gray Chevrolet Silverado pick-up truck (VIN 3GCPCSE05BG 164272).

        6. At said time near mile marker 170.5 and Fanners Overpass, Defendant Howard was

also headed westbound behind Plaintiff operating a vehicle specifically described as a double

tractor-trailer (VIN 1I-ISDGSJNXBJ366250) owned by UPS.

        7. At said time and location, Plaintiff Gwnby's vehicle was struck in the rear by

Defendant Howard driving the UPS double tractor-trailer, forcing Plaintiffs vehicle to off the

roadway, into and through a guardrail, and then up the side of Fanners Overpass, through east

guardrail of the overpass, and finally coming to rest after striking the west guardrail of the

overpass.

        8. At the time of the collision, Defendant Howard was acting within the course and scope

of his employment as a driver for UPS.

                                     CLAIMS and DAMAGES

       9. Defendant Howard is guilty of negligence which was the proximate and actual cause of

the above described accident, such negligent acts being:

               a.      Failing to keep a lookout for other vehicles on the highway;

               b.      Failing to keep the motor vehicle he was driving under proper control in

                       order to avoid damaging himself and others on the road;

               c.      Failing to reduce his speed, stop, or changes lanes to avoid a collision;

               d.      Violating the applicable statutes of the State of Arkansas.


                                            Page 2 of 3
         Case 4:11-cv-00340-SWW Document 1 Filed 04/19/11 Page 11 of 47




        10. That as a direct and proximate result of the negligence and carelessness of Defendant

Howard, Plaintiff sustained property damage and severe personal injuries; as a result of this

Plaintiff suffered physical injury, pain and mental distress, and incurred medical bills for

treatment and care, and will sustain pain, mental distress, and medical bills for treatment and care

in the future.

        11. Howard is liable in damages to Plaintiff for all injuries and property damage as a

result oflns negligence.

        12. UPS is liable for the negligent acts ofHoward pursuant to the doctrine of Respondeat

Superior.

        13. Plaintiff demands a jury trial.

        WHEREFORE, Plaintiff requests this Court to grant him a jury trial and award him

judgment against the Defendants in a sum which will reasonably compensate him for his past and

future damages and for cost, interest, and attorney's fees, and grant him all other just and proper

relief to wInch he may be entitled.



                        Respectfully submitted,

                                                        THE LAW OFFICES OF
                                                        PETER A. MILLER
                                                        1601 Broadway
                                                        Little Rock, Arkansas 72206
                                                        (501) 374-6300
                                                        FX:     (501) 374-1244
                                                   ,...-,iller@aristotle.net •

                                                  Byj Jti;. ~                             _
                                                      Peter Miller, Ark. Bar # 80103
                                                      Attorney for Plaintiff


                                              Page 3 of 3
        Case 4:11-cv-00340-SWW Document 1 Filed 04/19/11 Page 12 of 47




             IN THE CIRCUIT COURl/F Lg~~~OUNTY,ARKANM~MAR I B                                  AM 1\: 52
                                                                                LOt-1OKE COUNTY eLf:};:-:.
WILLIAM GUMBY                                                       PLAINTIFF        DEHISE C:iOWH
                                                                                   ~        L .    ~   ...,.
                                                                                BY7~--·····-
vs.                                    Case   No.CU-Jv /J-I((15
UPS GROUND FREIGHT, INC.,                                           DEFENDANTS
and ALLEN HOWARD

                 INTERROGATORIES TO DEFENDANT DRIVER HOWARD

        Comes now the Plaintiff, William Gwnby, and propounds the following Interrogatories

and Requests for Production of Documents to the Defendants, to be answered under oath and

within the time allowed under the Arkansas Rules of Civil Procedure.

                                     Background Information

       INTERROGATORY NO.:l. Please state your name, age, address, and if you are

answering for someone else, your official position.

       INTERROGATORY NO.:2. Please state your occupation and business address.

        INTERROGATORY NO.:3. Please state your social security number.

       INTERROGATORY NO.:4. Please state your residence address on the date of the

incident which is the subject of this law suit.

       INTERROGATORY NO.:5. If you are married or were married at the time of the

accident, give the following information with respect to each such marriage:

               a. The name of your spouse.

                b. The place of the marriage.

                c. The date of your marriage.

                d. If such marriage was terminated by death or divorce.


                                            Page 1 of 18
        Case 4:11-cv-00340-SWW Document 1 Filed 04/19/11 Page 13 of 47




               e. The date of termination of such marriage

               f. Iftenninated by divorce, the name of the court in which the divorce took place.

                   and present address of your spouse so divorced.

        INTERROGATORY NO.:6. Were you employed within the last six (6) months prior to

the accident? Please state the place of your employment, supervisors, type of work, and the

length of time you were employed at each place of employment.

       INTERROGATORY NO.:7. Have you changed employers since the date of the incident

in question. If so, please set forth the name and address of each such employer and the dates

worked for each.

        fNTERROGATORY NO.:8. Were you suffering from physical infinnity, disability, or

sickness at the time of the occurrence of the accident described in the complaint?

       fNTERROGATORY NO.:9. If your answer to the preceding interrogatory is in the

affirmative, please state as to each condition.

               a. A full and complete description of any such condition including its nature,

             extent, and severity.

               b. The duration of time, in months and days, that you had any such condition

               prior to this accident.

               c. Any medical or hospital examination, treatment or care you had received for

               any such condition.

               d. The names and addresses of any doctors or hospitals involved in the

               examination, treatment or care for any such condition.

               e. The dates of each and every such examination, treatment or care for any such


                                            Page 2 of 18
        Case 4:11-cv-00340-SWW Document 1 Filed 04/19/11 Page 14 of 47




                 condition.

                 f. Your entire medical history as it as relates in any way to any such condition.

       INTERROGATORY NO.: 1O. Have you ever been convicted of a crime? If so, what was

the date and place of conviction?

       TNTERROGATORY NO.: 11. Do you wear glasses or contact lens? If so, who prescribed

them, when were they prescribed, when were your eyes last examined and by whom?

       INTERROGATORY NO.: 12. Please describe the extent of your vision just before the

accident, both corrected and uncorrected.

       INTERROGATORY NO.:I3. If your eyesight vision in either eye at the time of the

accident was below normal without the use of eyeglasses or other corrective lenses, please state:

                 a. The nature and extent of the limitation of your vision below normal in your

                 right eye.

                 b. The nature and extent of the limitation of your vision below nonnal in you left

                 eye.

       INTERROGATORY NO.:14. Were you wearing eyeglasses or other cOlTective lenses at

the time of the accident?

       INTERROGATORY NO.IS. At the time of the accident, if you were not wearing your

eyeglasses or other corrective lenses, please explain in full detail why you were not.

       INTERROGATORY NO.:16. At the time of the accident, were you wearing dark, colored

or sunglasses?




                                            Page 3 of 18
                                                                                              -----------




        Case 4:11-cv-00340-SWW Document 1 Filed 04/19/11 Page 15 of 47




        INTERROGATORY NO.:17. If your answer to the preceding interrogatory is in the

affinnative, please state:

                a. A full description of such glasses.

                b. Whether or not such glasses were prescription glasses.

               c. The location where such glasses maybe examined.

        INTERROGATORY NO.:18. Do you wear a hearing aid? Ifso, when were your ears last

examined and by whom?

        INTERROGATORY NO.:19. At the time and place of the incident, did you have a CDL,

commercial driver's license?

       REOUEST FOR PRODUCTION NO.:l. Please provide a front and back copy of your

commercial driver's license.

       INTERROGATORY NO.:20. Have you received any traffic tickets in the past twelve

(12) months. Ifso, state the following:

               a. The nature of the offense.

               b. The state and county in which the offense took place.

               c. The date of the events.

               d. The outcome of events.

       INTERROGATORY NO.:21. Do you have liability insurance coverage that protects you

from the damages sought by the complaint? If so:

               a. What is the name of all insurance companies having coverage?

                b. What is the extent of coverage provided in the policy or pol icies of insurance,

               including coverage for both personal injury and property damage.


                                            Page40f 18
        Case 4:11-cv-00340-SWW Document 1 Filed 04/19/11 Page 16 of 47




               c. What are the policy numbers of each policy?

        INTERROGATORY NO.:22. Please state whether you have been involved in any other

accidents while driving a tractor-trailer. Please include in you answer the following:

               a.      TIle date of such accident;

               b.      The location of such accident;

               c.      The party against whom fault was assessed by police; and

               d.      Whether a lawsuit was filed by either party, the court in which it was filed,

                       and the case num ber.

       INTERROGATORY NO.:23. Please state whether you are aware of any newspapers

articles concerning the incident complained of by the plaintiff(s), and if your answer is

affirmative, state the dates of such articles and the newspapers in which they appeared.

       INTERROGATORY NO.:24. When was the last time you obtained any infonnation from

the Driver Safety Measurement System (DSMS) or the Pre-employment Screening

Program(PSP)?

       INTERROGATORY NO.:25. Identify all Compliance Safety Accountability (CSA)

interventions taken against you for any reason, specifically including any notice of violation or

notice of claim.

       INTERROGATORY NO.:26. Have you ever obtained your driver profile from the Motor

Carrier Management InfOlmation System (MCMIS) or PSP?

       REQUEST FOR PRODUCTION NO.:2. Please produce your individual record on file

with the Federal Motor,Carrier Safety Administration.




                                           Page 5 of 18
        Case 4:11-cv-00340-SWW Document 1 Filed 04/19/11 Page 17 of 47




                              Information Concerning the Accident

        INTERROGATORY NO.:27. Is Exhibit 1 a true and correct copy of the statement you

gave to the police office immediately after the accident?

        INTERROGATORY NO.:28. Does the narrative given in the police report on page 4

(Exhibit 2) give an accurate account of the events of the accident?

        INTERROGATORY NO.:29. Ifthe answer to the above interrogatory is in the

affinnative, please explain in as much detail as possible why you failed to see Plaintiff in front of

you.

       INTERROGATORY NO.:30. Describe in detail how the accident happened, stating in

your answer all events relating thereto in sequential order, including all actions taken by you to

prevent the accident.

       INTERROGATORY NO.:3l. Please state as accurately as you can the speed you were

traveling at the time ofthe incident and the facts on which you base that estimate; the speed

applicable to the section of road on which your vehicle was traveling immediately prior to the

accident; and whether you applied the brakes on your vehicle prior to impact.

       INTERROGATORY NO.:32. Please state as accurately as you can the time when the

incident happened, giving the date, hour and minute as nearly as possible.

       fNTERROGA TORY NO. :33. Please state whether you were listening to anything at the

time of the incident, for example the radio, cd/tape player, mp3 player, or CB radio.

       INTERROGATORY NO.:34. Please state whether you were using a car phone, cell

phone, or similar device at the time of the incident complained of.

       INTERROGATORY NO.:35. Please identify your car phone or cellular phone number


                                           Page 6 of 18
        Case 4:11-cv-00340-SWW Document 1 Filed 04/19/11 Page 18 of 47




and identify the name of the service provider that you used at the time of the incident complained

of.

        REQUEST FOR PRODUCTION NO, :3. Please produce a copy of your cellular phone

bill for the day of the incident.

        INTERROGATORY NO.:36. Did you or any agent or employee of yours prepare, submit

or make any written statement or report of this incident?

        INTERROGATORY NO.:37. If your answer to the preceding interrogatory is in the

affirmative, please state:

                a. The date of any such written statement or report.

                b. The substance and contents of any such written statement or report.

        REQUEST FOR PRODUCTION NO.:4. If you answer to Interrogatory No. 36 is in the

affirmative, please provide a copy of any such statement.

        INTERROGATORY NO.:38. Please state whether you ever made or gave any oral

statements to anyone regarding the happenings of this incident, and if your answer is in the

affirmative, please state:

                a. TIle name and address of the each person to whom you made or gave any such

                statement.

                b. The date of each such statement.

                c. The substance and content as best you recall, of any such statement.

        INTERROGATORY NO.:39. If you have asserted that your vehicle or the vehicle you

were driving malfunctioned, please state the following:

                a. Specifically, what partes) malfunctioned.


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                   b. When was the last time prior to this incident that this part had malfunctioned?

                       Explain in detail what occurred and how the problem was remedied.

        INTERROGATORY NO.:40. If this part had been repaired, either before or after this

incident, state:

                   a. Who performed the work, stating names, addresses and phone numbers.

                   b. The date(s) of repair(s).

                   c. The cost(s) ofrepair(s).

        INTERROGATORY NO. :41. Did you consume any alcoholic beverages or take any

dmgs or medication within twelve hours before the occurrence of the accident described in the

complaint? If so, what type and amount of alcoholic beverages, drugs or medications were

consumed and where did you consume them?

        INTERROGATORY NO.:42. If applicable, describe in detail each act or omission on the

part of the plaintiff you contend constituted negligence that was a contributing factor or legal

cause of the accident in question.

                                        Evidentiary Information

        INTERROGATORY NO.:43. List the names and addresses of all persons believed or

known by you, your agents or attorneys, who have any knowledge concerning any of the issues

raised by the pleading and specify the subject matter about which such person has knowledge.

        INTERROGATORY NO.:44. List the name, residence address, business address and

telephone number of each person believed or known by you, your agents or attorneys who have

heard or purported to have heard the plaintiff make any statement, remark, or comment




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concerning the accident described in the complaint and the substance of each statement, remark

or comment.

        INTERROGATORY NO. :45 . List any and all items you intend to offer as exhibits at

trial, and describe each and explain how it supports your case. In the alternative, attach copies of

all such exhibits to your answers.

        INTERROGATORY NO.:46. IdentifY and describe any and all demonstrative evidence

you intend to use at trial, and describe how it supports your case. In the alternative, attach copies

of all such evidence to your answers.

        INTERROGATORY NO.:47. Have you or any agent, employee or attorney of yours ever

obtained, or presently have in your possession a statement, either signed or unsigned, from the

plaintiff concerning the incident?

        INTERROGATORY NO.:48. If your answer to the preceding interrogatory is in the

affirmative, please state:

                a. The date on which such statement was taken.

                b. The substance of such statement.

        REQUEST FOR PRODUCTION NO.:5. If the answer to Interrogatory No. 47 is in the

affirmative, please produce a copy of such statement.

        INTERROGATORY NO.:49. Do you or does any agent or employee of yours have

possession or control of, or know of the existence ofany maps, pictures, photographs, drawing,

diagrams, measurements or other written or recorded descriptions of the incident, the scene of the

incident, or the areas or persons involved?

        INTERROGATORY NO.:50. If your answer to the preceding interrogatory is in the


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affilmative, please state for each such item:

               a. Its nature.

               b. Its specific subject matter.

               c. The date and time it was made or taken.

               d. The identification, including name, address and present whereabouts of the

               person making or taking it.

               e. Its present location.

               ( The identification, including name and address of the person at whose request it

               was made or taken.

       REQUEST FOR PRODUCTION NO.:6. If the answer to Interrogatory No. 49 is in the

affinl1ative, please produce a copies of any such maps, pictures, photographs, drawing, diagrams,

measurements or other written or recorded descriptions of the incident, the scene of the incident,

or the areas or persons involved.

       INTERROGATORY NO.:51. Were you charged with any violation oflaw arising out of

the incident referred to in the complaint? If so:

               a. What plea did you enter to the charge?

               b. Which court was the charge heard in?

               c. What was the nature of the charge?

               d. Was the testimony at any trial on the charge recorded in any manner, if so,

                   what was the name and address of the person who recorded the

                    testimony?

       REQUEST FOR PRODUCTION NO.: 7. If the answer to the previous interrogatory is in


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the affirmative, please produce a copy of any ticket or citation of the violation.

        INTERROGATORY NO.:52. Do you intend to call any non-medical witnesses at the trial

of this case? If so, please identify each witness, including his name, phone number, and address;

describe his qualifications as an expert; state the subject matter upon which he is expected to

testify; state the substance of the facts and opinions to which he is expected to testify; and give a

summary of the grounds for each opinion.

        INTERROGATORY NO.:53. List the names, business addresses and business telephone

numbers of all medical doctors by whom, and all hospitals at which, you have been examined

and\or treated in the past five years.

        INTERROGATORY NO.:54. Do you intend to call any medical witnesses at the trial of

this case? If so, please identify each witness, including his name, phone number, and address;

describe his qualifications as an expert; state the subject matter upon which he is expected to

testify; state the substance of the facts and opinions to which he is expected to testify; and give a

summary of the grounds for each opinion.

        INTERROGATORY NO.:55. If you have insurance, are you aware that your insurance

carrier has an obligation to settle this claim in good faith?

            Information Regarding the Specifics of the Motor Vehicle and its Trip

        INTERROGATORY NO.:56. Please state your destination, and if applicable, your

required time of arrival at the destination, at the time of the accident on February 4, 201 1, and

include your point of origin for that date and the time you left it.

        INTERROGATORY NO.:57. State your purpose in driving to the destination indicated in

the interrogatory above and describe the exact route that you followed from the point where your


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trip commenced to the point where the accident occurred.

        INTERROGATORY NO.:58. Please state the name, address and telephone nwnber of the

place where you slept, eight hours prior to the accident of February 4, 2011.

        INTERROGATORY NO.:59. Please state the recommended load capacity for the type of

tractor-trailer you were operating on February 4,2011.

        INTERROGATORY NO.:60. Please state the weight and identity of the load that you

were carrying on February 4, 2011.

        INTERROGATORY NO.:6I. Please state whether you are required to maintain logbooks

for the vehicle you were driving on February 4, 2011.

        REQUEST FOR PRODUCTION NO.:8. If the answer to the previous interrogatory is in

the affinnative, please provide a copy of the log book, especially for the dates of February 1-5,

2011.

        INTERROGATORY NO.:62. Please state whether a maintenance log is required on the

vehicle you were driving on Febmary 4, 2011.

        REQUEST FOR PRODUCTION NO.:9. If the answer to the previous interrogatory is in

the affirmative, please provide a copy of the maintenance log for 30 days prior to and after the

accident.

        INTERROGATORY NO.:63. Please state the time and location of the weigh station you

last entered prior to the accident of February 4, 2011.

        INTERROGATORY NO.:64. Was the motor vehicle you were driving at the time of the

accident equipped with telematics equipment, and if so. who is the manufacturer and what is the

model name and number?


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       INTERROGATORY NO.:65. Was the motor vehicle you were driving at the time of the

accident equipped with an Electronic On-Board Recorder, and if so, what who is the

manufacturer and what is the model name and number?

       INTERROGATORY NO.:66. Was the motor vehicle you were driving at the time of the

accident equipped with an electronic hours of service software module, and if so, who is the

manufacturer and what is the model name and number?

       INTERROGATORY NO.:67. Was the motor vehicle you were driving at the time of the

accident equipped with a vehicle monitoring system, and if so, who is the manufacturer and what

is the model name and number?

       INTERROGATORY NO.:68. Was the motor vehicle you were driving at the time of the

accident equipped with a GPS system, and if so, who is the manufacturer and what is the model

name and number?

       INTERROGATORY NO.:69. Was the motor vehicle you were driving at the time of the

accident equipped with any geospatia) technology, and if so, who is the manufacturer and what is

the model name and number?

       Th/TERROGATORY NO.:70. Was the motor vehicle you were driving at the time of the

accident equipped with any detection and avoidance system, and if so, who is the manufacturer

and what is the model name and number?

       REQUEST FOR PRODUCTION NO.:lO. If the answer to any of the above

interrogatories (Nos.64-70) is in the affinnative, please produce:

               a. Any and all e-log books, especially for February 1-5, 2011, including the audi t

                  trail from any Electronic On-Board Recorder.


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     b. Any hours of service report or data in printed or electronic form for the 24 hour

       period before and after the accident relating to:

             i. Total time driving since last qualified rest;

             ii. Driver available hours report;

             iii. Driver log summary;

             iv. Driver violations report;

             v. Beginning date of on duty;

             vi. Start time of on duty;

             vii. Cumulative drive time;

            viii. Total miles driven;

     c. Any and all reports or data in printed or electronic fonn relating to speeding,

       hard breaking, hard acceleration, and sudden stops for the 24 hour period before

       and after the accident.

     d. Any and all reports or data in printed or electronic fonn relating to GPS

       tracking, mapping, two-way messaging, and real-time traffic data for the 24

       hour period before and after the accident.

     e. Any other safety analytics report or data in printed or electronic fonn for the 24

       hour period before and after the accident;

     f. Any other driver productivity report or data in printed or electronic form for the

      24 hour period before and after the accident;

     g. Any other vehicle perfonnance report or data in printed or electronic form for

       the 24 hour period before and after the accident;


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               h. Any other report or data in printed or electronic fonn relating to the accident.

               i. Any and all recordings/print-outs of the detection and avoidance system for the

                  24 hour period before and after the accident.

       INTERROGATORY NO.:71. Was the motor vehicle you were driving at the time of the

accident equipped with a video monitoring system, who is the manufacturer and what is the

model name and number?

       REQUEST FOR PRODUCTION NO.:1 1. If the answering to the above intelTogatory was

in the affirmative, please provide a copy of the video for the 24 hour period before and up until

the accident, or in the alternative, the name, business and home address, telephone number, and

email address of the person in possession of said video.

       INTERROGATORY NO.:72. Find herein attached three releases for your signature.

Please sign them and return them with your answers to these interrogatories.




                              Respectfully submitted,

                                              THE LAW OFFICES OF PETER A. MILLER
                                              1601 Broadway
                                              Little Rock, AR 72206
                                              (501) 374-6300
                                                    "'--2
                                              By:   -t--~ ~
                                              Peter A. Miller, Attorney at Law




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          PERMISSION TO RELEASE DRIVING RECORDS AND REPORTS



Re: Allen Howard
       Tennessee Driver's License Number:63598224



        The undersigned hereby authorizes you to give to Peter Miller, ATTORNEY AT LAW,
or any representative of her firrn, THE LAW OFFICES OF PETER A. MILLER, all infonnation
relative to the undersigned's driving record and to permit such person to copy or photostat or
have copies of photostats made of any record or report concerning said driving record.




Allen Howard



Date




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         PERMISSION TO RELEASE CRIMINAL RECORDS AND REPORTS



Re: Allen Howard
       Tennessee Driver's License Number: 63598224
        Date of Birth:0811 0166

        The undersigned hereby authorizes you to give to Peter Miller, ATTORNEY AT LAW,
or any representative of her finn, THE LAW OFFICES OF PETER A. MILLER, all infonnation
relative to any criminal record of the undersigned and to permit such person to copy or photostat
or have copies of photostats made of any record or report concerning said criminal record.



Allen Howard


Date




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            LIMITED PERMISSION TO RELEASE TELEPHONE RECORDS


Re: Allen Howard
   SSN:

       Phone Number:

        You are hereby authorized to give to Peter Miller, Attorney at Law, or any representative
of THE LAW OFFICES OF PETER A. MILLER, a copy of the above referenced person's
cellular phone bill for billing period which includes calls placed or received on 6/25/2005




Allen Howard




Date




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         IN THE CmCUIT COURT OF LONOKE COUNTY, ARKA.lVSMl "'-'1 II: 52
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                                                                       ('I  .... !.'.\'
WILLIAM GUMBY                               PLAINTIPEi~!SE ur:OWd


vs.                                    Case No,   C(J ~d-oll I ~ ~
                                                            J
                                                                          B~[!C
UPS GROUND FREIGHT, INC.,                                            DEFENDANTS
and ALLEN HOWARD

                          INTERROGATORIES TO DEFENDANT UPS

        Comes now the Plaintiff, William Gumby, and propounds the following Interrogatories

and Requests for Production of Documents to the Defendant, to be answered under oath and

within the time allowed under the Arkansas Rules of Civil Procedure.

                                      Background Information

       INTERROGATORY NO.: 1. Please identify the person or persons answering these

interrogatories on behalf of defendant corporation, giving the full name, residence, business

address and occupation.

       INTERROGATORY NO.:2. Please identify all persons who assisted in preparing

responses to these interrogatories.

       INTERROGATORY NO.:3 Please state the full name of the Defendant business entity

and all parent companies and subsidiaries.

       INTERROGATORY NO.:4. Please identify all ofdefendant Howard's employers for the

ten years immediately preceding today's date and for each describe the job and give the dates of

employment, that entity's full name; principal address of the business; telephone numbers; and

the names, addresses, and titles of his immediate supervisors.




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        INTERROGATORY NO.:5. Has Defendant Howard changed employers since the date of

the incident in question. If so, please set forth the name and address of each such employer and

the dates worked for each.

       INTERROGATORY NO.:6. Describe and explain in detail the method of calculating

Howard's pay, compensation, wages, salary, bonus, or cOIrunission at the time of the accident

and one year prior.

       INTERROGATORY NO.:7. Please list all books, procedure manuals, persOimel policy

manuals, compendia of rules and regulations and company policy that applied to Howard at the

time he was employed by Defendant UPS.

       REQUEST FOR PRODUCTION NO.: 1. Please provide copies of all books, procedure

manuals, persOImeI policy manuals, compendia of rules and regulations and company policy that

applied to Howard at the time he was employed by Defendant UPS.

       INTERROGATORY NO.:8. Please list all documents, forms, releases and papers that

Howard signed or executed at the time of his fust becoming employed by Defendant UPS.

       REQUEST FQR PRODUCTION NO.:2. Please provide copies of all documents, forms,

releases and papers that Howard signed or executed at the time of his first becoming employed

by Defendant UPS.

       INTERRQGATORYNO.:9. Please list all traffic tickets or citations for moving

violations that Howard received in the ten years immediately preceding the date of the accident

and for each please state how Defendant UPS came to know of these citations.




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        REQUEST FOR PRODUCTION NO.:3. Please provide any copies UPS has of any traffic

tickets or moving violations that Howard received in the ten years immediately before the date of

the accident.

        INTERROGATORY NO.: 10. Other than the accident at issue, please list all other

incidents involving an alleged personal injury in which Howard has been involved, either as an

operator or passenger. Please include in you answer the following:

                a.      The date of such accident;

                b.      The location of such accident;

                c.      The party against whom fault was assessed by police; and

                d.      Whether a lawsuit was filed by either party, the court in which it was filed,

                        and the case number.

       INTERROGATORY NO.: 11. Has Howard ever been convicted of a crime? If so, what

was the date and place of conviction?

       INTERROGATORY NO.:12. Was Howard suffering from physical infirmity, disability,

or sickness at the time of the occurrence of the accident described in the complaint?

       INTERROGATORY NO.:13. If your answer to the preceding interrogatory is in the

affirmative, please state as to each condition.

                a. A full and complete description of any such condition including its nature,

                extent, and severity.

                b. The duration of time, in months and days, that you had any such condition

                prior to this accident.




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             c. Any medical or hospital examination, treatment or care Howard had received

             for any such condition.

             d. The names and addresses of any doctors or hospitals involved in the

             examination, treatment or care for any such condition.

             e. The dates of each and every such examination, treatment or care for any such

             condition.

             f. Howard's entire medical history as it as relates in any way to any such

             condition.

       REQUEST FOR PRODUCTION OF DOCUMENTS NO.:4. Please provide the

following:

       a.    A complete copy of Howard's personnel record to date.

       b.    A complete copy of Howard's health record.

       c.    Post trip inspection report of the vehicle for the period immediately subsequent to

             the time of the accident.

       d.    The safety inspection report for the vehicle most recently prior to the date of the

             accident.

       e.    Defendant Howard's medical card that was in effect at the time of the accident.

       f.    Defendant Howard's Qualification Card (front and back) .

       g.    Front and back of Defendant Howard's driver's license with endorsements that

             was in effect on the date of the accident.

       h.    Log for the 28 day period directly preceding and up to the time of the accident.

       i.    Shipping papers for the load that was being carried at the time of the accident.


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         J.      Shipping manifest for the load that was being carried at the time of the

                 accident.

         k.      If applicable, authority to haul.

         1.      A copy of the last mechanical inspection report immediately before the date of

                the accident.

         m.      A copy of the first mechanical inspection report immediately subsequent to the

                date of the accident.

         INTERROGATORY NO.:14. Who at UPS verifies whether Howard was in compliance

with federal safety regulations? Please give their name, address, telephone number, and official

title.

         INTERROGATORY NO.: 15. At any time during the sixty days prior to and the sixty

days subsequent to the accident, did Defendant Howard undergo drug and/or alcohol testing.

         INTERROGATORY NO.:16. If the answer to the preceding interrogatory is in the

affirmative, please state the person or entity who administered the test, the date of the test or

tests, the outcome or findings of the test or tests and the location of or entity who has possession

of the test results.

         REQUEST FOR PRODUCTION NO.:5. Please provide any reports or data in printed or

electronic form regarding results from the aforementioned drug and/or alcohol tests.

         INTERROGATORY NO.:17. Prior to the accident, was Howard's motor vehicle license

ever revoked, suspended or withdrawn by any licensing authority.

         INTERROGATORY NO.: 18. Jfthe answer to the preceding interrogatory is in the

affirmative, describe in detail the name of the licensing authority, the licensing authority's action,


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including the date of each such revocation, suspension, or withdrawal; the duration, giving

inclusive dates for each such revocation, suspension or withdrawal; the basis and reasons for

each such suspension, revocation or withdrawal; and for each such suspension, revocation or

withdrawal involving drugs or alcohol, state the name of the drug or alcoholic beverage involved,

the amount consumed or ingested, and any chemical test results obtained at the time.

        INTERROGATORY NO.:19. Do you have liability insurance coverage that protects you

from the damages sought by the complaint? If so:

                a. What is the name of all insurance companies having coverage?

                b. What is the extent of coverage provided in the policy or policies of insurance,

                including coverage for both personal injury and property damage.

                c. What are the policy numbers of each policy?

        INTERROGATORY NO.:20. If you have insurance, are you aware that your insurance

carrier has an obligation to settle this claim in good faith?

        INTERROGATORY NO.:21. Please state whether you are aware of any newspapers

articles concerning the accident complained of by the plaintiff(s), and if your answer is

affinnative, state the dates of such articles and the newspapers in which they appeared.

                              Information Concerning the Accident

       INTERROGATORY NO.:22. Describe in detail how the accident happened, giving all

events in detail in the order in which they occurred, before, during and after the occurrence,

which had any bearing on the cause and manner of the happening of the occurrence.

        INTERROGATORY NO.:23. Identify each occupant of the defendant's vehicle at the

time of the accident.


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        INTERROGATORY NO.:24. Identify every person known to have observed the accident.

        INTERROGATORY NO.:25. With respect to the accident which is the subject of the

Complaint, please set forth your estimate of the speed at which your vehicle was traveling at the

time of impact and any facts upon which you base that estimate.

        INTERROGATORY NO.:26. Immediately following the accident of February 4, 2011,

please state:

                a. The person at UPS who was first notified of the accident.

                b. The date and time this person was notified.

                c. Whether anyone at UPS created a written record of the accident, and if so,

                  by whom was it created.

                d. Is this record kept in any Vehicle Accident Investigation File or its equivalent?

                e. Is this record kept in the ordinary course of business?

       INTERROGATORY NO.:27. Please identify each person in the employ of Defendant

UPS or Defendant's insurance carrier who was present at the location of the accident or any time

after the accident. For each, please provide his/her name, address, company affiliation, and

specific activity or role at the scene (for example: "photographer," "accident investigator,"

"medical personnel," "UPS rick management," etc.).

       REQUEST FOR PRODUCTION NO.:6. Please produce copies of the entire Vehicle

Accident Investigation File for this accident.

       INTERROGATORY NO.:28. If the Defendant Howard was examined by any health care

provider or medical care institution within twenty-four hours after the occurrence, please identify

the medical care institution or health care provider.


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        INTERROGATORY NO.:29. Did any mechanical defect in the motor vehicle that

Defendant Howard was driving at the time of the accident contribute to the occurrence of the

accident? If so, what is the nature of the defect?

        INTERROGATORY NO.:30. If you have asserted that your vehicle or the vehicle

Defendant Howard was driving malfunctioned, please state the following:

                   a. Specifically, what partes) malfunctioned.

                   b. When was the last time prior to this incident that this part had malfunctioned?

                      Explain in detail what occurred and how the problem was remedied.

        INTERROGATORY NO.:3!. If this part had been repaired, either before or after this

incident, state:

                   a. Who performed the work, stating names, addresses and phone nwnbers.

                   b. TIle date(s) ofrepair(s).

                   c. The cost(s) ofrepair(s).

        INTERROGATORY NO.:32. Was Howard charged with any violation of law arising out

of the incident referred to in the complaint? If so.

                   a. What plea did he enter to the charge?

                   b. What court was the charge heard in?

                   c. What was the nature of the charge?

                   d. Was the testimony at any trial on the charge recorded in any manner, if so,

                   what was the name and address of the person who recorded the testimony?

        REQUEST FOR PRODUCTION NO.:7. Ifthe answer to the previous interrogatory is in

the affirmative, please produce a copy of any ticket or citation of the violation.


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        INTERROGATORY NO.:33. Does UPS supply a car/cellular phone for Howard?

        INTERROGATORY NO.:34. If the answer to the proceeding interrogatory is in the

affirmative, Please identify the car/cell ular phone nwnber and identify the name of the service

provider that was used at the time of the accident complained of.

        REQUEST FOR PRODUCTION NO.:8. Please produce a copy of Howard's car/cellular

phone bill for the day of the incident.

        INTERROGATORY NO.:3S. If applicable, describe in detail each act or omission on the

part of the plaintiff you contend constituted negligence that was a contributing factor or legal

cause of the accident in question.

                                     Evidentiary Information

        INTERROGATORY NO.:36. List the names and addresses of all persons believed or

known by you, your agents or attorneys, who have any knowledge concerning any of the issues

raised by the pleading and specify the subject matter about which such person has knowledge.

        INTERROGATORY NO.:37. List the name, residence address, business address and

telephone number of each person believed or known by you, your agents or attorneys who have

heard or purported to have heard the plaintiff make any statement, remark, or comment

concerning the accident described in the complaint in the substance of each statement, remark or

comment.

        INTERROGATORY NO.:38. Did you or any agent or employee of yours prepare, submit

or make any written statement or report of this incident?

        INTERROGATORY NO.:39.lfyour answer to the preceding interrogatory is in the

affirmative, please state:


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                a. The date of any such written statement or report.

                b. The substance and contents of any such written statement or report.

        REQUEST FOR PRODUCTION NO.:9. Please provide a copy of any written statement

or report concerning this accident that UPS has.

        INTERROGATORY NO.:40. Please state whether Howard ever made or gave any oral

statements to anyone regarding the happenings of this incident, and if your answer is in the

affirmative, please state:

                a. The name and address of the each person to whom Howard made or gave any

              such statement.

                b. The date of each such statement.

                c. The substance and content as best you recall, of any such statement.

        INTERROGATORY NO.:41. Have you or any agent, employee or attorney of yours ever

obtained, presently have in your possession a statement, either signed or unsigned, from the

plaintiff concerning the incident?

        INTERROGATORY NO.:42. If your answer to the preceding interrogatory is in the

affinnative, please state:

                a. The date on which such statement was taken.

                b. The substance of such statement.

        REQUEST FOR PRODUCTION NO.:1 O. If the answer to Interrogatory No. 41 is in the

affirmative, please produce any copy or documentation of the statement.

        INTERROGATORY NO.:43. Do you or does any agent or employee of yours have

possession or control of, or mow of the existence of any maps, pictures, photographs, drawing,


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diagrams, measurements or other written or recorded descriptions of the incident, the scene of the

incident, or the areas or persons involved?

        INTERROGATORY NO.:44. If your answer to the preceding interrogatory is in the

affirmative, please state for each such item:

               a. Its nature.

               b. Its specific subject matter.

               c. The date and time it was made or taken.

               d. The identification, including name, address and present whereabouts of the

               person making or taking it.

               e. Its present location.

               f. The identification, including name and address of the person at whose request it

               was made or taken.

       REQUEST FQR PRODUCTION NO.:ll. If the answer to Interrogatory No. 43 is in the

affirmative, please produce a copies of any such maps, pictures, photographs, drawing, diagrams,

measurements or other written or recorded descriptions of the incident, the scene of the incident,

or the areas or persons involved.

       INTERROGATORY NO.:45. Do you intend to caB any non-medical witnesses at the trial

of this case? If so, please identify each witness, including his name, phone number, and address;

describe his qualifications as an expert; state the subject matter upon which he is expected to

testify; state the substance of the facts and opinions to which he is expected to testify; and give a

summary ofthe grounds for each opinion.




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        INTERROGATORY NO.:46. Do you intend to call any medical witnesses at the trial of

this case? If so, please identify each witness, including his name, phone number, and address;

describe his qualifications as an expert; state the subject matter upon which he is expected to

testify; state the substance of the facts and opinions to which he is expected to testifY; and give a

summary of the grounds for each opinion.

        INTERROGATORY NO.:47. Have you or your insurance carrier or any agent, employee

or other interested person employed the services of an accident reconstructionist or accident

reconstruction expert in your investigation of the accident giving rise to this law suit.

        INTERROGATORY NO.:48. If the answer to the preceding interrogatory is in the

affirmative, please state the opinions or conclusions, if any, made by said person and please

submit copies of all reports, diagrams and photographs relevant to that investigation.

        INTERROGATORY NO.:49. Please state whether, pursuant to 49 CFR § 382.303, post

accident testing was performed on Howard.

        TNTERROGATORYNO.:50. If the answer to the prior interrogatory is in the affinnative,

please identify the person, company, organization, or institution that performed the post accident

testing referenced above.

        REOUEST FOR PRODUCTION NO.:12. If the answer to Interrogatory No. 48 is in the

affirmative, please produce any copies of reports or documentation of the post accident testing,

including the results of said testing.

        TNTERROGATORYNO.:51. If you alleged an affirmative defense in your Answer to

Plaintiffs Complaint, please set forth all the affirmative facts or factual contentions that have

evidenced support known to you, or anyone acting in your behalf, which you contend support or


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corroborate said allegation or defense; the name, business and residence address, and telephone

number of each person known to you who claims to have knowledge regarding any such facts;

and an identification of each and every writing relating to such contention.

        INTERROGATORY NO.:52. Please set forth all the affirmative facts or factual

contentions that have evidenced support known to you, or anyone action in your behalf, which

you contend support or con-oborate you defense that Plaintiff was not injured or damaged in any

manner or to the extent alleged in the Complaint; the name, business and residence address, and

telephone number of each person known to you who claims to have knowledge regarding any

such facts; and an identification of each and every writing relating to such contention.

            Information Regarding the Specifics of the Motor Vehicle and its Trip

        INTERROGATORY NO.:53. Identify the US DOT number displayed on the tractor-

trailer on the date of the incident.

        INTERROGATORY NO.:54. What was the length of the Defendant's vehicle from the

nose of the cab to the end of the rear trailer.

        INTERROGATORY NO.:55. Please identify by year, make, model, and license plate and

vin number the vehicle that Defendant was driving at the time of the occun-ence.

        INTERROGATORY NO. :56. What was the loaded weight of Defendant Howard's

vehicle at the time ofthe accident.

        INTERROGATORY NO.:57. Please state the recommended load capacity for the type of

tractor-trailer Howard was operating on February 4, 2011.

        INTERROGATORY NO.:58. Please state Howard's destination, and if applicable his

required time of arrival at the destination, at the time of the accident on February 4, 2011, and


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include his point of origin for that date and the time you left it.

        INTERROGATORY NO.:59. State Howard's purpose in driving to the destination

indicated in the interrogatory above and describe the exact route that he followed from the point

where his trip commenced to the point where the accident occurred.

        INTERROGATORY NO.:60. Describe in chronological detail Defendant Howard's

activities during the forty-eight hours prior to the accident.

        INTERROGATORY NO.:61. Please state the name, address and telephone number of the

place where Howard slept, eight hours prior to the accident of February 4,2011.

        INTERROGATORY NO.:62. What was the date of the last brake inspection immediately

before the accident?

        INTERROGATORY NO.:63. Please state whether Howard was required to maintain

logbooks for the vehicle he was driving on February 4, 2011.

        REQUEST FOR PRODUCTION NO.:13. If the answer to the previous interrogatory is in

the affirmative, please provide a copy ofthe log book, especially for the dates of February 1-5,

2011.

        INTERROGATORY NO. :64. Please state whether a maintenance log is required on the

vehicle Howard was driving on February 4,2011.

        REQUEST FOR PRODUCTION NO.:14.1fthe answer to the previous interrogatory is in

the affirmative, please provide a copy of the maintenance log for 30 days prior to and after the

accident.

        INTERROGATORY NO.:65. Please state the time and location of the weigh station

Howard last entered prior to the accident of February 4,2011.


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       INTERROGATORY NO.:66. Was the motor vehicle Howard was driving at the time of

the accident equipped with telematics equipment, and if so, who is the manufacturer and what is

the model name and number?

       INTERROGATORY NO.:67. Was the motor vehicle Howard was driving at the time of

the accident equipped with an Electronic On-Board Recorder, and if so, what who is the

manufacturer and what is the model name and number?

       INTERROGATORY NO.:68. Was the motor vehicle Howard was driving at the time of

the accident equipped with an electronic hours of service software module, and if so, who is the

manufacturer and what is the model name and number?

       INTERROGATORY NO.:69. Was the motor vehicle Howard was driving at the time of

the accident equipped with a vehicle monitoring system, and if so, who is the manufacturer and

what is the model name and number?

       INTERROGATORY NO.:70. Was the motor vehicle Howard was driving at the time of

the accident equipped with a GPS system, and if so, who is the manufacturer and what is the

model name and number?

       INTERROGATORY NO.:7l. Was the motor vehicle Howard was driving at the time of

the accident equipped with any geospatial technology, and ifso, who is the manufacturer and

what is the model name and number?

       INTERROGATORY NO.:72. Was the motor vehicle Howard was driving at the time of

the accident equipped with any detection and avoidance system, and if so, who is the

manufacturer and what is the model name and number?




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       REQUEST FOR PRODUCTION NO.:15. {fthe answer to any of the above

interrogatories (Nos.66-72) is in the affinnative, please produce:

               a. Any and all e-Iog books, especially for February 1-5,2011, including the audit

                  trail from any Electronic On-Board Recorder.

               b. Any hours of service report or data in printed or electronic form for the 24 hour

                 period before and after the accident relating to:

                       i. Total time driving since last qualified rest;

                      n. Driver available hours report;
                      iii. Driver log summary;

                      iv. Driver violations report;

                      v. Beginning date of on duty;

                      vi. Start time of on duty;

                      vii. Cumulative drive time;

                      viii. Total miles driven;

               c. Any and all reports or data in printed or electronic fonn relating to speeding,

                 hard breaking, hard acceleration, and sudden stops for the 24 hour period before

                 and after the accident.

               d. Any and all reports or data in printed or electronic fonn relating to GPS

                 tracking, mapping, two-way messaging, and real-time traffic data for the 24

                 hour period before and after the accident.

              e. Any other safety analytics report or data in printed or electronic fonn for the 24

                 hour period before and after the accident;


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               f. Any other driver productivity report or data in printed or electronic form for the

                 24 hour period before and after the accident;

               g. Any other vehicle performance report or data in printed or electronic form for

                 the 24 hour period before and after the accident;

               h. Any other report or data in printed or electronic form relating to the accident.

               i. Any and all recordings/print-outs of the detection and avoidance system for the

                 24 hour period before and after the accident.

       INTERROGATORY NO.:73. Was the motor vehicle Howard was driving at the time of

the accident equipped with a video monitoring system, and if so, who is the manufacturer and

what is the model name and number?

       REQUEST FOR PRODUCTlONNO.:16. If the answering to the above interrogatory was

in the affirmative, please provide a copy of the video for the 24 hour period before and up until

the accident, or in the alternative, the name, business and home address, telephone number, and

email address ofthe person in possession of said video.



                              Respectfully submitted,

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                                              Peter A. Miller, Attorney at Law
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April 5, 2011


(Via E-Mail Only: pmiller@aristotle.netJ
Mr. Peter Miller, Esquire
The Law Offices of Peter Miller
1601 Broadway
Little Rock, AR 72206

                            Re:      Gumby v. UPS et al
                                     Client:        UPS
                                     DOL:           Friday, February 04, 2011
                                     Our File # 11-041
Dear Mr. Miller:

Pursuant to our telephone conversation in this cause, you estimate that your client, William
Gumby, has in excess of $300,000.00 in medical expenses directly associated with injuries
sustained in the collision that is the subject of this lawsuit. We have also agreed, that
based upon the medicals and your client's injuries, that the amount in controversy,
exclusive of interest and cost, is in excess of $75,000.00.

I thank you in advance for your attention to this matter; and I look forward to working with
you.

7c,e,     y,


Robert A. Cox, E quire
rcox@gewwlaw.co

tadg




                         Alternate Address: Post Office Box 916, Southaven, Mississippi 38671-0916
